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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:08CR450
                    Plaintiff,                   )
                                                 )
      vs.                                        )               ORDER
                                                 )
AMAR HENDERSON,                                  )
DEVON DEMIA SMITH, and                           )
CHARLES JONES,                                   )
                                                 )
                    Defendants.                  )
      This matter is before the court on the motion to continue by defendant Charles
Jones (Jones) (Filing No. 51). Jones seeks a continuance of the trial of this matter which
is scheduled for March 23, 2009. Jones has submitted an affidavit wherein he represents
that he consents to the motion and acknowledges he understands the additional time may
be excludable time for the purposes of the Speedy Trial Act (Filing No. 52). Upon
consideration, the motion will be granted as to all defendants.


      IT IS ORDERED:
      1.     Jones's motion to continue trial (Filing No. 51) is granted as to all defendants.
      2.     Trial of this matter is re-scheduled for April 13, 2009, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
March 13, 2009 and April 13, 2009, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason that defendants'
counsel require additional time to adequately prepare the case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
      DATED this 13th day of March, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
